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                                  No. 6:19-cr-00066

                              United States of America
                                         v.
                               Isaiah Bodate Pierce


                                      ORDER

               The court referred this matter to the Honorable John D.
            Love, United States Magistrate Judge, for administration of a
            guilty plea under Federal Rule of Criminal Procedure 11. The
            magistrate judge conducted a hearing in the form and manner
            prescribed by Rule 11 and issued findings of fact and recom-
            mendation on guilty plea. The magistrate judge recom-
            mended that the court accept defendant’s guilty plea and ad-
            judge defendant guilty on count one of the indictment. The
            parties have not objected to the magistrate judge’s findings.
               The court hereby adopts the findings of fact and recom-
            mendation on guilty plea of the United States Magistrate
            Judge. The court also accepts defendant’s plea but defers ac-
            ceptance of the plea agreement until after review of the
            presentence report.
               In accordance with defendant’s guilty plea, the court finds
            defendant Isaiah Bodate Pierce guilty of count one of the in-
            dictment, charging a violation of Title 18 U.S.C. § 922(g)(1) -
            Felon in Possession of a Firearm.
                                  So ordered by the court on October 7, 2020.



                                               J. C AMPBELL B ARKER
                                             United States District Judge
